                   Son Xuan Hoang PhD,Document
            Case 9:23-cr-00014-DWM     MBA     17-2 FiledSenior Forensic
                                                          03/23/23   PageChemist
                                                                           1 of 29
                      Department of Justice                                Western Region Laboratory
                      Drug Enforcement Administration                      Pleasanton, CA
                      Office of Forensic Science

                                            AREA OF EXPERTISE

Forensic Discipline
           Seized Drug Analysis

Expert Testimony
            Testified 5 times at the Federal level:
                 •   August 5, 2019 at the U.S. District Court of Eastern District of California for United States of
                     America vs. Tommie Thomas
                 •   August 19, 2019 at the U.S. District Court of Utah for United States of America vs. Aaron
                     Michael Shamo
                 •   April 11, 2022 at the U.S. District Court of Northern District of California for United States of
                     America vs. Alejandro Alvarez
                 •   February 22, 2023 at the U.S. Eastern District Court of Washington for United States of
                     America vs. Jose Aguirre-Ruiz
                 •   February 24, 2023 at the U.S. District Court of Colorado for United States of America vs.
                     Thomas O’Hara


                                      PROFESSIONAL EXPERIENCE
DRUG ENFORCEMENT ADMINISTRATION
Forensic Chemist, Western Laboratory, Pleasanton, CA, 2016 – Present
   •   Analyze physical evidence for the presence or absence of controlled substances.
   •   Prepare written reports detailing findings of analysis.
   •   Provide testimony in court as needed.
   •   Have analyzed approximately 1800 exhibits.
Training
   •   Basic Forensic Science School (Quantico, VA), 2016
   •   Maintaining ACQUITY UPLC Systems (Classic, H-Class and I-Class), Waters Corporation (Pleasanton,
       CA), 2017
   •   Basic Clandestine Laboratory Certification School, DEA Academy (Quantico, VA), 2018
   •   NMR Quantitation and Identification (Pleasanton, CA), 2019
   •   New Analytical Scheme for the Analysis of Cannabis (Pleasanton, CA), 2019
   •   Illicit Hazardous Environments Specialist (Quantico, VA), 2021
   •   DEA Clandestine Laboratory Advanced Specialist Course (Quantico, VA), 2021
   •   Kadima Leadership Training (Quantico, VA), 2021
   •   Field Training Chemist Professional Development (Quantico, VA), 2021


US DEPARTMENT OF AGRICULTURE
Senior Chemist, USDA (Alameda CA) 2011-2016



                                                                                            Page 1 of 3   (11/16/2022)
                                                                                                     Exhibit 2A-1
    •      Responsible for testing meats, poultries, fish, and eggs for pesticides and small molecules contamination.

    •          Case routine
           Performed 9:23-cr-00014-DWM        Document
                            maintenance and performed    17-2
                                                      checks     Filed 03/23/23
                                                             on laboratory         Page
                                                                           equipment.            2 of 29

    •   Trained Chemists onsite on method development and maintenance of analytical instruments.
    •   Performed and validated analytical methods.

UNIVERSITY OF THE PACIFIC - AMERICAN CHEMICAL SOCIETY
Teaching Assistant (Stockton, CA) 2004-2011
    •   Guided and trained scientists in method development, instrumental analysis, data collection and
        interpretation, and lab safety.
    •   Trained graduate and undergraduate students in analytical methods development and instruments
        maintenance.
    •   Teaching, Experimentation, And Mentoring in Science - Coordinated, planned, and taught sciences to 6-12
        grades.


Training

    •   Mass Spectrometry: Principal and Practice (Stockton, CA 2014-2010).

HILMAR CHEESE AND INGREDIENTS
R&D Chemist (Hilmar, CA) 2009
    •   Responsible for testing meats, poultries, fish, and eggs for pesticides and small molecules contamination.
    •   Trained and provided technical supports for the purification and analysis of oligosaccharides and proteins.
    •   Set up analytical instruments and trained Chemists on application and maintenance.
    •   Analyzed and mapped protein hydrolysis.


                                     EDUCATION AND CERTIFICATIONS

San Francisco State University, San Francisco CA

    •   Master of Business Administration, 2017

University of the Pacific, Stockton CA

    •   Ph.D., Pharmaceutical and Chemical Sciences 2011

University of California, Davis CA

    •   Bachelors of Science, Biochemistry 2003
    •   Minor - Statistics 2003


           Certification(s)
    •   DEA Clandestine Laboratory Safety Certification, 2018 to present
    •   DEA Advanced Site Safety (2021 to present)


                                          PROFESSIONAL AFFILIATIONS




                                                                                           Page 2 of 3   (11/16/2022)
                                                                                                    Exhibit 2A-2
•   Alpha Chi Sigma - Professional Chemistry Fraternity
•   American
         Case Chemical Society (2007-present)
                9:23-cr-00014-DWM        Document 17-2           Filed 03/23/23 Page 3 of 29

                                PRESENTATIONS AND LECTURES

•   Oral Presenter - Analysis of Pesticide in Meats and Poultry at USDA Western Laboratory
•   Agriculture Research Service (Washington, DC), 2012
•   Poster Presenter - Analysis of Pesticide in Meats and Poultry at USDA Western Laboratory
•   Pesticide Conference (St. Pete, FL) 2013

                                             PUBLICATIONS

•   Macrocyclic Chemistry:
    Part I - Characterization of a mixed-valence di-iron complex and synthesis of a new poly-iron complex.
    Part II - Synthesis, characterization of new diphosphoester macrocyclic polyethers. University of the Pacific
    2011. Dissertation.




                                                                                      Page 3 of 3   (11/16/2022)
                                                                                               Exhibit 2A-3
       Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 4 of 29



                                             U.S. Department of Justice
                                             Drug Enforcement Administration
                                             Western Laboratory
                                             6880 Koll Center Parkway
                                             Pleasanton, CA 94566
___________________________________________________________________________
www.dea.gov



TO:               Jennifer Clark
                  Assistant U. S. Attorney

FROM:             Son Xuan Hoang
                  Senior Forensic Chemist
                  DEA Western Laboratory


SUBJECT: RULE 16(a)(1)(G) SUMMARY OF TESTIMONY IN
UNITED STATES v. Justin Jose Romo
DEA IA Case Number(s) 2022-SFL7-04516

Date: March 7, 2023


The following summary of testimony is provided as required by Federal Rule of Criminal
Procedure 16(a)(1)(G) and is a complete statement of my opinions, which are exclusive to and
address only the exhibit(s) identified in this summary:

1. My name is: Son Xuan Hoang

2. I am employed by the U.S. Department of Justice, Drug Enforcement Administration (DEA),
   in the capacity of Senior Forensic Chemist, and was so employed when I conducted the
   examinations and analyses described below. My qualifications to conduct the examinations
   and analyses, and to express an opinion as to the identity of the material contained in the
   exhibit(s) described below, are based on my knowledge, skill, experience, training, and
   education. See my attached Curriculum Vitae for additional information regarding my
   qualifications, including previous testimony offered in the last four years and any
   publications authored in the last ten years.

3. The opinions described below are based on the following chemical, physical, and
   instrumental analyses, the results generated by those analyses, and my interpretation of those
   results set forth in the forthcoming Laboratory Report and analyst notes.




SF Rule 16 (Chemistry) (February 2023)             Approved by: DEA Office of Forensic Sciences (SF)
                                                                                         Page 1 of 3
      Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 5 of 29
SUBJECT: RULE 16(a)(1)(G) SUMMARY OF TESTIMONY IN
UNITED STATES v. Justin Jose Romo
DEA IA CASE NUMBER(S) 2022-SFL7-04516


   The manner and process by which the analyses I performed were done so as articulated in the
   publicly available Analysis of Drugs Manual (ADM) and Laboratory Operations Manual
   (LOM), in effect at the time of analysis. These are generally available at:

   https://www.dea.gov/resources/documents?f%5B0%5D=publication_type%3A2596, or were
   otherwise disclosed upon request.

4. I analyzed the material contained in the exhibits which were submitted for analysis in the
   above referenced case number(s). My conclusions are included as part of forthcoming
   forensic laboratory reports and analyst notes.

5. The material referred to herein as exhibit #1, as represented in the forensic laboratory reports
   and accompanying case file, has been identified as follows:

       a. Substance(s) identified: Methamphetamine Hydrochloride. Methamphetamine
          confirmed in all units received. A composite was formed from 2 units for further
          testing. Salt form determined from testing the composite.
       b. Purity of Methamphetamine: 96% ± 6%. Purity determined from testing the
          composite; the purity and amount pure substance values are representative of the
          entire exhibit. All uncertainty values represent expanded uncertainty estimates at the
          95% level of confidence.
       c. Net weight: 18.6 g ± 0.2 g. The net weight was determined by direct weighing of all
          unit(s). The net weight uncertainty value represents an expanded uncertainty estimate
          at the 95% level of confidence.

    The above opinion is based on the following physical, chemical, and instrumental analyses:

       i.     Marquis color test
       ii.    Capillary gas chromatography coupled with mass spectrometry detection
       iii.   Infrared spectroscopy
       iv.    UV-Vis Spectroscopy

Pursuant to Fed. R. Crim. P. 16(a)(1)(G)(v), I approve the foregoing disclosure.


   SON HOANG                     Digitally signed by SON HOANG
                                 Date: 2023.03.07 09:05:53 -08'00'
   ____________________________________________                      Date: 3/7/2023
   Son X. Hoang, DEA Senior Forensic Chemist

                                Digitally signed by
           SPENCER              SPENCER SINGH
                                Date: 2023.03.09 06:25:43
           SINGH                -08'00'
APPROVED: ________________________________________________________________
                        Spencer Singh, Supervisor Forensic Chemist

SF Rule 16 (Chemistry) (February 2023)                  Approved by: DEA Office of Forensic Sciences (SF)
                                                                                              Page 2 of 3
      Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 6 of 29
SUBJECT: RULE 16(a)(1)(G) SUMMARY OF TESTIMONY IN
UNITED STATES v. Justin Jose Romo
DEA IA CASE NUMBER(S) 2022-SFL7-04516



   Attachment




SF Rule 16 (Chemistry) (February 2023)   Approved by: DEA Office of Forensic Sciences (SF)
                                                                               Page 3 of 3
                               Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 7 of 29


                              U.S. Department of Justice                                                                                           Western Laboratory
                              Drug Enforcement Administration                                                                                      Pleasanton, CA



                                                                                                                                                                Chemical Analysis Report
HSI - Kalispell                                                                                                         Case Number: 2022332400005101
2 Main Street, Suite 206                                                                                                LIMS Number: 2022-SFL7-04516
Kalispell, MT 59901


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity              Amount Pure Substance
        1                            Methamphetamine Hydrochloride                                         18.6 g ± 0.2 g                          96% ± 6%                         17.8 g ± 1.1 g

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Purity determined from testing the composite; the purity and amount pure substance values are representative of the entire exhibit. All
uncertainty values represent expanded uncertainty estimates at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 09/06/2022                                        Gross Weight: 33.4 g                                                    Date Received by Examiner: 11/08/2022

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                             Reserve Wt.
1                                     2                               Plastic Bag                                  Crystalline                                             18.0 g
Remarks:

Exhibit Analysis:
Sampling:
Methamphetamine identified in all unit(s) received. A composite was formed from 2 units for further testing. Salt form determined from
testing the composite.

Exhibit           Summary of Test(s)
1                  Gas Chromatography/Mass Spectrometry, Infrared Spectroscopy, Marquis Color Test
Exhibit           Purity Test(s)
1                 DEA 503/UV-Vis Spectroscopy




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Son X. Hoang, Senior Forensic Chemist                                                                                                       Date: 11/15/2022
Approved By: /S/ Suk I. Fullbright, Senior Forensic Chemist                                                                                                  Date: 11/16/2022

DEA Form 113 August 2019                                                                                                                                                                         Page 1 of 1

                                                                                                       091                                                                Exhibit 2C-1
                                                 CaseDocument
                             Case 9:23-cr-00014-DWM   Details   Report
                                                              17-2 Filed 03/23/23 Page 8 of 29

» I.A. Case #:            REDACTED / LIMS Case #: 2022-SFL7-04516

Investigating Agency: HSI - Kalispell

# of I.A. Exhibits: 1                                               # of Lab Exhibits: 1



    Exhibit #     Lab Ex #                                              Lab Exhibit Description                                                            Container
        1            1       2 plastic bags, each plastic bag contained white crystalline substances,                                                 SSEE (2161679)


Summary of Findings                                                                                                                           Analyst: SXHOANG (2022.11.15)

Findings
Exhibit                                              Gross Wt                 Net Wt (Reported)                           Net Wt             Reserve Wt         Retained Wt

1                                                      33.4 g                     18.6 g ± 0.2 g                18.67 g ± 0.24061 g               18.0 g

            Constituent                                                  Purity                         APD (Reported)                               APD
            Methamphetamine Hydrochloride                               96% ± 6%                         17.8 g ± 1.1 g                      17.856 g ± 1.14429 g




Gross Weight                                                                                                                                  Analyst: SXHOANG (2022.11.15)
Equipment : DEA 365215
Gross Weight (Reported)                                   32.5 g

Gross Weight (Actual)                                     33.4 g

Gross Weight (delta)                                      0.9 g

Gross Weight (delta %)                                    2.69 %

Weight Discrepancy                                        No

Remarks                                                   No Remarks




Description of Evidence                                                                                                                       Analyst: SXHOANG (2022.11.15)

Seals                                                     Intact

Date Opened                                               2022-11-08

Description                                               1 SSEE contained 2 plastic bags (1 contained another plastic bag contained white
                                                          crystalline substances, and 1 contained white crystalline substances). total 2 units.
Consistent With Paperwork?                                Yes

Remarks                                                   No Remarks




Description of Exhibit and Sampling                                                                                                           Analyst: SXHOANG (2022.11.15)

Number of Packages                                        2 unit

Number of Units                                           2 unit

Package Type                                              Plastic Bag

Logo/Impression                                           No

Gross Form                                                Crystalline

Dry/Moist                                                 Dry

Exemplar                                                  No

Number of Units Tested                                    2 unit

Sampling Procedure                                        2 units tested of 2 units received with color test and GC-MS. One independent portion
                                                          from each unit was used for each technique. All sample from 2 units were combined,
                                                          ground and passed through a 20-mesh sieve to form a composite for further testing.
                                                          Salt form determination was performed with FTIR. Quantitation was performed with
                                                          UV-Vis.
Deviation from Sampling Plan                              No
Remarks                                                   No Remarks




                                                                                                                                             Exhibit 2D-1
» I.A. Case #:            Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 9 of 29
                        REDACTED / LIMS Case #: 2022-SFL7-04516

 Exhibit #     Lab Ex #                                               Lab Exhibit Description                                                     Container
        1          1       2 plastic bags, each plastic bag contained white crystalline substances,                                             SSEE (2161679)


Net Weight                                                                                                                               Analyst: SXHOANG (2022.11.15)
Equipment : DEA 365202
Residue                                                 No

Type of Weighing                                        Direct Weighing

Net Weight                                              18.6 g

Net Weight Uncertainty                                  0.2 g

Remarks                                                 Weighed in new ziplock plastic bags empty to full.

Use Legacy Calculator                                   No




Marquis Color Test : Run # 1 - Set # 1 Blank                                                                                             Analyst: SXHOANG (2022.11.15)

Negative Control Run                                    Yes

Negative Control Result                                 Pass

Reagent ID                                              MARQ-G2-SEPT22

Remarks                                                 No Remarks




Marquis Color Test : Run # 1 - Set # 2 Samples 1-2                                                                                       Analyst: SXHOANG (2022.11.15)

Negative Control Run                                    No

Reagent ID                                              MARQ-G2-SEPT22

Applicable Units                                        1-2

Color                                                   Orange to Brown

Remarks                                                 No Remarks




GC-MS Analysis : Run # 1 - Set # 1 Blank                                                                                                 Analyst: SXHOANG (2022.11.15)
Equipment : DEA 365408
Negative Control Run                                    Yes

Negative Control Type                                   Instrumental/Solvent

Negative Control Result                                 Pass

Solvent                                                 Base extracted into chloroform.

Remarks                                                 Baseline and all peaks checked no controlled substances or adulterants found. Passed.




GC-MS Analysis : Run # 1 - Set # 2 Sample 1                                                                                              Analyst: SXHOANG (2022.11.15)
Equipment : DEA 365408
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 Base extracted into chloroform.

Retention Time Matching                                 No

Remarks                                                 Baseline and all peaks checked, no other controlled substances or adulterants found.


Spectral Result
Constituent                                                        Comments
Methamphetamine, Isomer & Salt Undetermined                        retention time was within +/- 0.1 minute of standard.




                                                                                                                                        Exhibit 2D-2
» I.A. Case #:            Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 10 of 29
                        REDACTED / LIMS Case #: 2022-SFL7-04516

 Exhibit #     Lab Ex #                                               Lab Exhibit Description                                                     Container
      1            1       2 plastic bags, each plastic bag contained white crystalline substances,                                             SSEE (2161679)


GC-MS Analysis : Run # 1 - Set # 3 Sample 2                                                                                              Analyst: SXHOANG (2022.11.15)
Equipment : DEA 365408
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 Base extracted into chloroform.

Retention Time Matching                                 No

Remarks                                                 Baseline and all peaks checked, no other controlled substances or adulterants found.


Spectral Result
Constituent                                                        Comments
Methamphetamine, Isomer & Salt Undetermined                        retention time was within +/- 0.1 minute of standard.




GC-MS Analysis : Run # 1 - Set # 4 Standard mix AC-22-03                                                                                 Analyst: SXHOANG (2022.11.15)
Equipment : DEA 365408
Negative Control Run                              No

Sample Weighed                                          No

Solvent                                                 Base extracted into dichloromethane.

Retention Time Matching                                 No

Remarks                                                 No Remarks


Spectral Result
Constituent                                                        Comments
Methamphetamine, Isomer & Salt Undetermined                        ---




FTIR Analysis : Run # 1 - Set # 1 Composite blank                                                                                        Analyst: SXHOANG (2022.11.15)
Equipment : DEA 41321A
Negative Control Run                              Yes

Background                                              Pass

Negative Control Type                                   Instrumental

Negative Control Result                                 Pass

Remarks                                                 No Remarks




FTIR Analysis : Run # 1 - Set # 2 Composite sample                                                                                       Analyst: SXHOANG (2022.11.15)
Equipment : DEA 41321A
Negative Control Run                              No

Sample Prep                                             Direct.

Remarks                                                 No Remarks


Spectral Result
Constituent                                                        Comments
Methamphetamine Hydrochloride, Isomer                              ---
Undetermined




                                                                                                                                        Exhibit 2D-3
» I.A. Case #:               Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 11 of 29
                          REDACTED / LIMS Case #: 2022-SFL7-04516

 Exhibit #        Lab Ex #                                               Lab Exhibit Description                                        Container
      1               1       2 plastic bags, each plastic bag contained white crystalline substances,                                SSEE (2161679)


Quantitation : Run # 1 - Set # 1 Blank                                                                                         Analyst: SXHOANG (2022.11.15)
Equipment : DEA 365212, DEA 41313A
Type                                                       Blank

Method                                                     DEA 503/UV-Vis Spectroscopy

Remarks                                                    No Remarks
QC Low Result                                              N/A

QC High Result                                             N/A




Quantitation : Run # 1 - Set # 2 Composite sample                                                                              Analyst: SXHOANG (2022.11.15)
Equipment : DEA 365212, DEA 41313A
Type                                              Sample

Method                                                     DEA 503/UV-Vis Spectroscopy

Dilution Technique                                         Volumetric

Sample Prep - Sample Weight (LabX)                         158.4 mg

Sample Amount (Instrument)                                 158.4 mg

Sample Prep - Initial Volume                               50 mL

Sample Prep - Volume Transferred                           1 mL

Sample Prep - Final Volume                                 1 mL

Sample Prep - Dilution Factor                              50 mL

Dilution Factor                                            50 mL

Remarks                                                    No Remarks


Quantitation
Constituent                                                        RT                    Area                       Height   Width             Purity
Methamphetamine, Isomer & Salt                                                          0.0000                      0.0000   0.000             96.540
Undetermined

QC Low Result                                              100.23

QC High Result                                             98.85




Reserve Weight                                                                                                                 Analyst: SXHOANG (2022.11.15)
Equipment : DEA 365202
Residue?                                                   No

Type of Calculation                                        No Calculation

Reserve Weight                                             18.06 g

Remarks                                                    Weighed in a new ziplock plastic bag empty to full.




Description of Reserve Evidence                                                                                                Analyst: SXHOANG (2022.11.15)

Description                                                White powder contained in a ziplock bag.
                                                           All original packaging materials contained in a ziplock bag.
                                                           All ziplock bags were sealed into the original SSEE.
Date Sealed                                                2022-11-09

Remarks                                                    No Remarks




Gross Weight After Analysis                                                                                                    Analyst: SXHOANG (2022.11.15)
Equipment : DEA 365202
Gross Weight After Analysis                                44.8 g

Remarks                                                    No Remarks




                                                                                                                              Exhibit 2D-4
        Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 12 of 29

Case Number:
LIMS Case Number: 2022-SFL7-04516
DEA-7 Exhibit Number: 1
Lab Exhibit Number: 1




                                                                    Exhibit 2D-5
          Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 13 of 29




DEA Uncertainty Calculator Worksheet
 Direct Net Weight

Chemist:         SXHOANG                                 LIMS #:                2022-SFL7-04516
Date:            11/8/2022                               Laboratory:            Western
Ordno:           1131855                                 Lab Exhibit #:         1

Direct Weight Measurements

TaskID           Balance #         Weight (Full) (g)       Weight (Empty) (g)
T78050          DEA 365202                                         3.32
T78050          DEA 365202              21.99

                           Total Net Weight (g):          18.67



Uncertainty Factors

 Balance (g)     # Events         u(mass)(g)            u(w)(g)
    0.01              2             0.060152            0.12030

                  Combined Uncertainty u(w):            0.12030

           Expanded Uncertainty U (k = 2) (g):          0.24061

Unit Count:                         Avg Net Wt/Unit (g):                  +/-


Net Weight Results

Net Weight:           18.67000 +/-       0.24061 g            Relative U%
Report:                      18.6 +/-           0.2 g         1.29




                                                                                                  Exhibit 2D-6
Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 14 of 29




                                                            Exhibit 2D-7
Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 15 of 29




                                                            Exhibit 2D-8
Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 16 of 29




                                                            Exhibit 2D-9
Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 17 of 29




                                                           Exhibit 2D-10
Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 18 of 29




                                                           Exhibit 2D-11
Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 19 of 29




                                                           Exhibit 2D-12
Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 20 of 29




                                                           Exhibit 2D-13
Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 21 of 29




                                                           Exhibit 2D-14
Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 22 of 29




                                                           Exhibit 2D-15
                     Background, Wed Nov 09 10:47:39 2022 (GMT-08:00)
                                            Case 9:23-cr-00014-DWM    Document 17-2 Filed 03/23/23 Page 23 of 29
               16

               14

               12
Single Beam




               10

                8

                6

                4

                2
                     2022-SFL7-04516-1,1,1131855,263,1,1, blank
               104


               102
%Reflectance




               100


               98


               96

                                     3500                3000           2500               2000           1500          1000
                                                                        Wavenumbers (cm-1)


Number of sample scans: 8                         Collection time: Wed Nov 09 10:48:39 2022 (GMT-08:00)
Number of background scans: 8                     ID: 2022-SFL7-04516-1,1,1131855,263,1,1, blank
Resolution: 4.000
                                                  DEA#: 41321A
Sample gain: 4.0
Optical velocity: 0.4747                          Laboratory: Western Laboratory                                 IR01
Aperture: 150.00

                                                                                                                        Exhibit 2D-16
Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 24 of 29




                                                                    Exhibit 2D-17
                           Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 25 of 29

11/9/2022 2:35:54 PM
DEA41313A Western Laboratory                                                                                                                 Page 1 of 2


Methamphetamine Purity Results
Operator: Son Hoang
Date: 11/9/2022
Time: 2:35:29 PM


Method: DEA 503/UV-Vis Spectroscopy

Shell Version: 062122

Instrument: Agilent Cary 60 UV/Vis Spectrophotometer
Configuration: Multi-cell
Signal Averaging Time (SAT): 0.5 sec
Number of Replicates Averaged: 5

LIMS Number: 2022-SFL7-04516

Sample Information: 158.4 mg in 50 mL of DI water


Sample ID         Abs Rd 1        Abs Rd 2          Abs Rd 3    Abs Rd 4    Abs Rd 5   Ave. Abs@267 nm    % RSD   Conc(mg/mL)   Time Stamp
QC Low           0.7841         0.7938          0.7959         0.7977      0.7910      0.7925            0.67     1.866         2:35:31 PM
Blank            0.0001         0.0001          0.0001         -0.0000     -0.0000     0.0000            140.00   -0.105        2:35:37 PM
Sample           1.2714         1.2760          1.2607         1.2691      1.2827      1.2720            0.64     3.058         2:35:44 PM
QC High          1.8864         1.8954          1.8874         1.8912      1.9000      1.8921            0.30     4.601         2:35:50 PM


Weight of Sample: 158.40 mg
Volume of Sample: 50.00 mL

Purity of Methamphetamine in Sample = 96.54 %

Purity of Methamphetamine in Blank = -0.01 %

Concentration of Methamphetamine in QC Low = 1.8616 mg/mL
Result of QC low = 100.23 %

Concentration of Methamphetamine in QC High = 4.6540 mg/mL
Result of QC high = 98.85 %




DEA41313A Western Laboratory


                                                                                                                    Exhibit 2D-18
                           Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 26 of 29

11/9/2022 2:35:54 PM
DEA41313A Western Laboratory                                                                          Page 2 of 2




                   2.0                                                                     +


                   1.5
                                                                     +X
             Abs




                   1.0

                                                     +
                   0.5


                   0.0
                         0                      1        2            3        4               5
                                                             Conc (mg/mL)

Calibration Date/Time: 9/22/2022   3:48:40 PM

Calibration Equation: Y = 0.4021 * X + 0.0422
Correlation Coefficient = 0.9999

Number of Standards Used for Calibration = 3

Standard Concentration (mg/mL) Standard 1 = 1.464
Standard Read Average (abs) Standard 1 = 0.6237084

Standard Concentration (mg/mL) Standard 2 = 2.9279
Standard Read Average (abs) Standard 2 = 1.231992

Standard Concentration (mg/mL) Standard 3 = 4.8799
Standard Read Average (abs) Standard 3 = 1.999036


LIMS Number: 2022-SFL7-04516




DEA41313A Western Laboratory


                                                                                      Exhibit 2D-19
    Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 27 of 29
Drug Enforcement Administration
Weight Report

Case Information
Reference Material                                       Methamphetamine HCl
Lot Number/Inventory ID                                  1527
Solvent                                                  water
Glassware UniqueID                                       CJ36831
Flask Volume Selection                                   25 mL
Date Prepared                                            09/22/2022


LabX Method Used
Method Name:              Quant Standard



LabX Task ID
Task ID:                  T83369


Weighing Result
Weighing Event:           Purity of Reference Material    Result               98.60 %
Weighing Item Number:

Weighing Event:           Weight of Standard              Result               123.73 mg
Weighing Item Number:

Weighing Event:           Final Concentration of          Result               4.8799 mg/mL
                          Reference Material Solution
                          (Corrected for Purity)
Weighing Item Number:



Balance Used
Balance ID:               DEA 365291
Balance Type:             XP205




9/22/2022 3:50:07 PM                             SIFULLBRIGHT                                            1/1
                                                                                         Exhibit 2D-20
    Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 28 of 29
Drug Enforcement Administration
QC Solution Preparation Report

Sample Information
Date of High and Low Solution Preparation                10/04/2022
Prepared By:                                             Misa Mar
Quality Control (QC) Sample ID                           QCMET01B1
Target Analyte                                           Methamphetamine Hydrochloride
Solvent                                                  Other
Solvent Used                                             DI Water
QC High Solution ID                                      QC High 5/25/22
Total Volume of High QC Solution                         200 mL
QC Low Solution ID                                       QC Low 5/25/22
Total Volume of Low QC Solution                          50 mL
Low QC Preparation Method                                Serial Dilution


LabX Method Used
Method Name:              QC Soln(SFL1)



LabX Task ID
Task ID:                  T84188


Weighing Result
                          Purity of QC Sample             Result                 98.07 %



                          Weight of High QC Sample        Result                 949.12 mg



                          Total High QC Solution          Result                 4.7456 mg/mL
                          Concentration



                          Target Analyte Concentration    Result                 4.6540 mg/mL
                          for High QC Solution
                          (Corrected for Purity)



                          Serial Dilution Volume for      Result                 20.00 mL
                          Low QC Solution



                          Total Low QC Solution           Result                 1.8982 mg/mL
                          Concentration



                          Target Analyte Concentration    Result                 1.8616 mg/mL
                          for Low QC Solution
                          (Corrected for Purity)




10/4/2022 9:41:22 AM                                   MMMAR                                             1/2
                                                                                         Exhibit 2D-21
    Case 9:23-cr-00014-DWM Document 17-2 Filed 03/23/23 Page 29 of 29
Drug Enforcement Administration
QC Solution Preparation Report
Balance Used
Balance ID:            DEA 365291
Balance Type:          XP205




10/4/2022 9:41:22 AM                MMMAR                                     2/2
                                                              Exhibit 2D-22
